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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                                 :     Case No. 22-mj-00203 (GMH)
                                                         :
                v.                                       :
                                                         :
JON LIZAK,                                               :
                                                         :
                                                         :
                            Defendant.                   :


                         JOINT MOTION TO CONTINUE AND
                  TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

        The parties are currently scheduled for a status hearing on February 14, 2022.   The United

States of America and counsel for the defendant, Jon Lizak, hereby move this Court for an

approximately 60-day continuance of that hearing and to exclude the time within which the trial

must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq..          In support of this joint

motion, the undersigned states as follows:

        1.      Defendant was charged by complaint for misdemeanor violations related to his

actions on January 6, 2021.       He was arrested on September 12, 2022.        Defendant is not in

custody.

        2.      Both case specific and global discovery (23 volumes) have been provided to

Defendant, which has included filesharing of documents produced to Relativity.       The production

to Relativity included numerous audio files and other records of the U.S. Capitol Police, tens of

thousands of tips and related documentation made to the Metropolitan Police Department tipline,

and FBI reports of interviews, among other materials.         Defense counsel continues to review

discovery and further investigate this matter.       Additionally, the parties continue to discuss a

pretrial resolution of this matter.

        3.      Given defense counsel’s interest in reviewing the voluminous discovery materials
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and the Government’s pretrial offer, the parties seek an additional continuance of approximately

60 days or another date thereafter at the Court’s convenience.       The additional time will afford

defense counsel time to review and investigate any matters as needed and the parties time to discuss

any possible pre-trial resolution of this matter.

       WHEREFORE, the parties respectfully request that this Court grant the motion for an

approximately 60-day continuance of the above-captioned proceeding, and that the Court exclude

the time within which and Information, Indictment, or trial must commence under the Speedy Trial

Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of justice served by taking such actions

outweigh the best interest of the public and the defendant in a speedy trial pursuant to the factors

described in 18 U.S.C. §3161(h)(7)(A), (B)(i), (ii), and (iv), and failure to grant such a continuance

would result in a miscarriage of justice.

                                               Respectfully submitted,

                                                        MATTHEW M. GRAVES
                                                        United States Attorney
                                                        D.C. Bar Number 481052

                                               By:      /s/ Joseph H. Huynh
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